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     JENNIFER LEA BARNES
 6

 7

 8                     IN THE UNITED STATES DISTRICT COURT
 9                   EASTERN DISTRICT OF CALIFORNIA, FRESNO
10                                    * * * * *
11
                                          ) Case No.: CR-F-05-00435 OWW
12   UNITED STATES OF AMERICA,            )
                                          ) DEFENDANT’S NOTICE OF WAIVER OF
13              Plaintiff,                ) PERSONAL APPEARANCE
                                          )
14        vs.                             )
                                          )
15                                        )
     JENNIFER LEA BARNES,                 )
16                                        )
                Defendant.                )
17

18
          Defendant, JENNIFER LEA BARNES, waives her right to be present
19
     in open Court upon the hearing of any motion or other proceeding in
20
     this cause, including but not limited to, when the case is ordered
21
     set for trial, when a continuance is ordered, and when any other
22
     action is taken by the Court before or after trial, except upon
23
     arraignment, plea, impanelment of jury and imposition of sentence.
24
          Defendant hereby requests the Court to proceed during every
25
     absence of hers which the Court may permit pursuant to this waiver;
26
     agrees that her interests will be deemed represented at all times by
27
     the presence of her attorney, Anthony P. Capozzi, the same as if the
28

                                         - 1 –
                                                                  Defendant’s Notice of
                                                          Waiver of Personal Appearance
              Case 1:05-cr-00435-AWI Document 66 Filed 01/13/06 Page 2 of 2



 1   Defendant was personally present; and further agrees to be present
 2   in person in Court ready for trial any day and hour the Court may
 3   fix in her absence.
 4        Defendant further acknowledges that she has been informed of
 5   her rights under Title 18, United States Code, Sections 3161-3174
 6   (Speedy Trial Act), and authorizes her attorney to set times and
 7   delays under the Act without Defendant being present.
 8

 9   Dated:    January 11, 2006
10
                                                    /s/ Jennifer Lea Barnes
11
                                               JENNIFER LEA BARNES
12

13
     Dated:    January 11, 2006
14                                                  /s/ Anthony P. Capozzi
                                               Anthony P. Capozzi,
15                                             Attorney for Defendant
16

17

18
                                           ORDER
19

20   IT IS SO ORDERED:

21   Dated:      January _12__, 2006
22
                                               /S/ OLIVER W. WANGER
23                                             Honorable Oliver W. Wanger
                                               U.S. District Court Judge
24

25

26

27

28

                                            - 2 –
                                                                     Defendant’s Notice of
                                                             Waiver of Personal Appearance
